                              Case 23-11161-JKS                            Doc 1            Filed 08/14/23    Page 1 of 19

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of 'HODZDUH
                                  _________________
                                        (State)
 Case number (If known): _________________________ Chapter 
                                                           _____                                                                       Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           3ULPH&RUH7HFKQRORJLHV,QF
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer              
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business

                                               330        South Rampart Blvd.
                                              ______________________________________________                 _______________________________________________
                                              Number     Street                                              Number     Street

                                               Suite 260
                                              ______________________________________________                 _______________________________________________
                                                                                                             P.O. Box

                                               Las Vegas                  NV       89145
                                              ______________________________________________                 _______________________________________________
                                              City                        State    ZIP Code                  City                      State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                               Clark
                                              ______________________________________________
                                              County                                                         _______________________________________________
                                                                                                             Number     Street

                                                                                                             _______________________________________________

                                                                                                             _______________________________________________
                                                                                                             City                      State      ZIP Code




 5.   Debtor’s website (URL)                   https://www.primetrust.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                              Case 23-11161-JKS                     Doc 1        Filed 08/14/23             Page 2 of 19

Debtor        3ULPH&RUH7HFKQRORJLHV,QF
              _______________________________________________________                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ; Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ; None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           
                                              ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ; Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                                  aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                              affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                             recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                              income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                                11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                   noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                   less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                   Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                   statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                   § 1116(1)(B).

                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 2
                                 Case 23-11161-JKS               Doc 1      Filed 08/14/23            Page 3 of 19

Debtor         3ULPH&RUH7HFKQRORJLHV,QF
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an             
                                         ; Yes. Debtor 6HH5LGHU                                                $IILOLDWH
                                                       _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District 'HODZDUH
                                                            _____________________________________________ When                08/14/2023
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         
                                         ; Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                             Case 23-11161-JKS                   Doc 1          Filed 08/14/23           Page 4 of 19

Debtor      3ULPH&RUH7HFKQRORJLHV,QF
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors RQD
     FRQVROLGDWHGEDVLV
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets RQD
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 FRQVROLGDWHGEDVLV
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities RQD
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 FRQVROLGDWHGEDVLV
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          08/14/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8    /s/ Jor Law
                                             _____________________________________________                 Jor Law
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Interim Chief Executive Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                                Case 23-11161-JKS                   Doc 1          Filed 08/14/23        Page 5 of 19

   Debtor       3ULPHCore Technologies Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name




    18. Signature of attorney
                                            8   /s/ Maris J. Kandestin
                                               _____________________________________________             Date      08/14/2023
                                                                                                                   _____ ____________
                                                Signature of attorney for debtor                                   MM     / DD / YYYY



 Maris J. Kandestin                                                           Maris
                                                                                 ____J._Azman
                                                                              Darren
                                                                             ___         Kandestin
                                                                                         ______ ____________________________________________________________
_________________________________________________________________________________________________
Printed name                                                                 Printed name
 McDermott Will & Emery LLP                                                   McDermott
                                                                             _____ _______Will
                                                                                          ____ &___
_________________________________________________________________________________________________Emery  LLP
                                                                                                    ______ _________________________________________________
Firm name                                                                    Firm name
1007        North Orange Street, 10th Floor                                   1007
                                                                              One         North
                                                                                   Vanderbilt    Orange
                                                                                              Avenue
                                                                                             _______
_________________________________________________________________________________________________
                                                                             ___ ___________         ____Street,
                                                                                                         ___     10th
                                                                                                             ______   Floor
                                                                                                                    ____ ____________________________________
Number     Street                                                            Number       Street
 Wilmington            DE
                       __           19801
____________________________________________________
                                    _____                 _   _________ _             Wilmington
                                                                                      New York, NY
                                                                                    ________________________
                                                                                     _______________________ DE____________19801
                                                                                                             ___            10017-3852
                                                                                                                           __ ___
                                                                                                                              ______________
City                  State        ZIP Code                                          City                   State         ZIP Code

 (302) 485-3900
____________________________________  mkandestin@mwe.com                    (302)
                                                                           _(212) 485-3900
                                                                             _____547-5400
                                     __________________________________________                                   mkandestin@mwe.com
                                                                                  ______________________________ dazman@mwe.com
                                                                                                                 ___________   __________________________
Contact phone                        Email address                         Contact phone                         Email address



 5294          DE
______________________________________________________
               __                                      _      _________               5294
                                                                                     4911673
                                                                                     ___             DE
                                                                                         _____________NY
                                                                                                     ________________________________________ _    _________
Bar number    State                                                                  Bar number      State




    Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
               Case 23-11161-JKS         Doc 1     Filed 08/14/23     Page 6 of 19




                                              Rider 1

                     Pending Bankruptcy Cases Filed by the Debtor and
                      Certain Affiliates and Subsidiaries of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under
chapter 11 of title 11 of the United States Code. The Debtors will move for joint administration
of these cases for procedural purposes only under the case number assigned to the chapter 11
case of Debtor Prime Core Technologies Inc.

                      Debtor Name                                        EIN Number
               Prime Core Technologies Inc.                               XX-XXXXXXX
                    Prime Trust, LLC                                      XX-XXXXXXX
                     Prime IRA LLC                                        XX-XXXXXXX
                   Prime Digital, LLC                                     XX-XXXXXXX
                   Case 23-11161-JKS              Doc 1      Filed 08/14/23        Page 7 of 19




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:
                                                                        Chapter 11
    Prime Core Technologies Inc.,
                                                                        Case No. 23-[_______] ([___])
                                      Debtor.


                               LIST OF EQUITY SECURITY HOLDERS1

             Debtor                 Equity Holders             Address of Equity           Percentage of Equity
                                                                     Holder                        Held
    Prime Core                  10T DAE Expansion            15 E. Putnam Ave.                    6.64%
    Technologies Inc.           Fund, LP                     Suite 505
                                                             Greenwich, CT 06830
    Prime Core                  Mercato Partners             PO Box 171305                         10.04%
    Technologies Inc.           Traverse IV QP, L.P.         Salt Lake City, UT
                                                             84117
    Prime Core                  Quantum Partners LP          250 W. 55th Street                     8.30%
    Technologies Inc.                                        New York, NY 10019

    Prime Core                  Senior Comfort Corp          27 Meadowhawk Lane                    18.52%
    Technologies Inc.                                        Las Vegas, NV 89135

    Prime Core                  The J. Max Jiles Trust       PO Box 591                             9.30%
    Technologies Inc.                                        Sallisaw, OK 74955




1
      This list reflects holders of five percent (5%) or more of Prime Core Technologies Inc.’s outstanding equity
      interests. This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
      Federal Rules of Bankruptcy Procedure.
                    Case 23-11161-JKS              Doc 1       Filed 08/14/23         Page 8 of 19




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                                 Chapter 11

    Prime Core Technologies Inc., et al.,1                                 Case No. 23-[_______] ([___])

                                        Debtors.                           (Joint Administration Requested)


                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Prime Core Technologies Inc. and certain of its affiliates and subsidiaries, as debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

respectfully represent as follows with respect to the Debtors’ direct and indirect corporate

ownership:

             1.     Non-Debtor Senior Comfort Corp. owns 18.52% of Debtor Prime Core

Technologies Inc.’s outstanding equity interests. No other corporation owns more than 10% of

Debtor Prime Core Technologies Inc.’s outstanding equity interests.

             2.     Debtor Prime Core Technologies Inc. owns 100.0% of the membership interests

in Debtor Prime Trust, LLC.

             3.     Debtor Prime Trust, LLC owns 100.0% of the membership interests in Debtor

Prime Digital, LLC.

             4.     Debtor Prime Trust, LLC owns 100.0% of the membership interests in Debtor

Prime IRA LLC.



1
      The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and
      Prime Digital, LLC (4528). Prime Core Technologies Inc.’s service address is 330 South Rampart Blvd.,
      Suite 260, Las Vegas, Nevada 89144.
Debtor           Prime Core Technologies Inc., et al.
                                                          Case 23-11161-JKS                                   Doc 1              Filed 08/14/23                          PageCase
                                                                                                                                                                              9 of   19
                                                                                                                                                                                  number (if known)




         Fill in this information to identify the case:
         Debtor name: Prime Core Technologies Inc., et al.,
         United States Bankruptcy Court for the: District of Delaware
         Case number (If known):                                                                                                                                           Check if this is an
                                                                                                                                                                            amended filing

         Official Form 204
         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured
         Claims and Are Not Insiders                                                     12/15
         A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any
         person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate
         collateral value places the creditor among the holders of the 50 largest unsecured claims.*


                                                                                                                                                                                                    Amount of unsecured claim
                                                                                                                            Nature of the claim                                 if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                                            (for example, trade                                claim is partially secured, fill in total claim amount and deduction for
                                                                                                                                                      Indicate if claim is
                                                                                                                            debts, bank loans,                                        value of collateral or setoff to calculate unsecured claim.
               Name of creditor and complete mailing address,                Name, telephone number, and email                                           contingent,
                                                                                                                                professional
                             including zip code                                 address of creditor contact                                            unliquidated, or
                                                                                                                                  services,
                                                                                                                                                           disputed                                         Deduction for
                                                                                                                              and government                                     Total claim, if
                                                                                                                                                                                                                                     Unsecured claim
                                                                                                                                 contracts)                                     partially secured         value of collateral
                                                                                                                                                                                                              or setoff



     1                       Name and Address on File                    Information on File                                      Customer                Unliquidated                                                                  $55,000,104




     2
                             Name and Address on File                     Information on File                                     Customer                Unliquidated                                                                  $31,720,676




     3                       Name and Address on File                     Information on File                                     Customer                Unliquidated             $23,854,134               $13,943,921                $9,910,213




     4                       Name and Address on File                    Information on File                                      Customer                Unliquidated                                                                  $9,197,296




     5                       Name and Address on File                     Information on File                                     Customer                Unliquidated                                                                  $5,004,998




     6                       Name and Address on File                     Information on File                                     Customer                Unliquidated                                                                  $3,366,196




     7                       Name and Address on File                     Information on File                                     Customer                Unliquidated                                                                  $2,223,311




     8                       Name and Address on File                     Information on File                                     Customer                Unliquidated              $1,833,551                  $5,026                  $1,828,525




     9                       Name and Address on File                     Information on File                                     Customer                Unliquidated                                                                  $1,828,422




 10                          Name and Address on File                     Information on File                                     Customer                Unliquidated                                                                  $1,785,897




 11                          Name and Address on File                     Information on File                                     Customer                Unliquidated              $1,790,750                  $49,450                 $1,741,300




 *
         On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any
         Debtor’s right to challenge the amount or characterization of any claim at a later date.
Official Form                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest                                                                                            page 1
Debtor     Prime Core Technologies Inc., et al.
                                                  Case 23-11161-JKS                   Doc 1          Filed 08/14/23                   Page Case
                                                                                                                                           10 number
                                                                                                                                                of 19(if known)




                                                                                                                                                                  Amount of unsecured claim
                                                                                                 Nature of the claim                           if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                 (for example, trade                          claim is partially secured, fill in total claim amount and deduction for
                                                                                                                       Indicate if claim is
                                                                                                 debts, bank loans,                                  value of collateral or setoff to calculate unsecured claim.
         Name of creditor and complete mailing address,     Name, telephone number, and email                             contingent,
                                                                                                     professional
                       including zip code                      address of creditor contact                              unliquidated, or
                                                                                                       services,
                                                                                                                            disputed           Total claim, if            Deduction for
                                                                                                   and government
                                                                                                                                              partially secured                                   Unsecured claim
                                                                                                      contracts)                                                        value of collateral
                                                                                                                                                                             or setoff


 12                  Name and Address on File             Information on File                         Customer            Unliquidated                                                                $1,641,950




 13                  Name and Address on File             Information on File                         Customer            Unliquidated            $1,889,758                 $482,000                 $1,407,758




 14                  Name and Address on File             Information on File                         Customer            Unliquidated                                                                $1,363,937




 15                  Name and Address on File             Information on File                         Customer            Unliquidated                                                                $1,218,920




 16
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                $1,076,536




 17
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $994,703




 18
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $988,762




 19
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $956,921




 20
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $940,390




 21
                     Name and Address on File             Information on File                         Customer            Unliquidated             $882,046                   $1,000                   $881,046




 22
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $861,141




 23
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $800,000




 24
                     Name and Address on File             Information on File                         Customer            Unliquidated                                                                 $608,601




 25
                     Name and Address on File             Information on File                         Customer            Unliquidated             $588,591                   $4,419                   $584,172




Official Form                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest                                                                          page 2
Debtor     Prime Core Technologies Inc., et al.
                                                  Case 23-11161-JKS                    Doc 1          Filed 08/14/23                   Page Case
                                                                                                                                            11 number
                                                                                                                                                 of 19(if known)




                                                                                                                                                                   Amount of unsecured claim
                                                                                                  Nature of the claim                           if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                  (for example, trade                          claim is partially secured, fill in total claim amount and deduction for
                                                                                                                        Indicate if claim is
                                                                                                  debts, bank loans,                                  value of collateral or setoff to calculate unsecured claim.
         Name of creditor and complete mailing address,      Name, telephone number, and email                             contingent,
                                                                                                      professional
                       including zip code                       address of creditor contact                              unliquidated, or
                                                                                                        services,
                                                                                                                             disputed           Total claim, if            Deduction for
                                                                                                    and government
                                                                                                                                               partially secured                                   Unsecured claim
                                                                                                       contracts)                                                        value of collateral
                                                                                                                                                                              or setoff


 26
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $510,747




 27
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $500,500




 28                        Socure Inc.
                   330 Seventh Avenue Suite 200           Email: rhon@socure.com                       Trade Debt                                                                                       $456,397
                    New York, New York 10011              Phone: (914) 343-8416




 29
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $420,834




 30
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $373,900




 31
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $362,810




 32
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $345,566




 33
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $328,052




 34
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $315,844




 35
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $313,711




 36
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $307,085




 37
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $295,980




 38
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $251,089




 39
                     Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $250,839




 40                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $250,250




Official Form                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest                                                                         page 3
Debtor     Prime Core Technologies Inc., et al.
                                                  Case 23-11161-JKS                       Doc 1      Filed 08/14/23                    Page Case
                                                                                                                                            12 number
                                                                                                                                                 of 19(if known)




                                                                                                                                                                   Amount of unsecured claim
                                                                                                  Nature of the claim                           if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                  (for example, trade                          claim is partially secured, fill in total claim amount and deduction for
                                                                                                                        Indicate if claim is
                                                                                                  debts, bank loans,                                  value of collateral or setoff to calculate unsecured claim.
         Name of creditor and complete mailing address,     Name, telephone number, and email                              contingent,
                                                                                                      professional
                       including zip code                      address of creditor contact                               unliquidated, or
                                                                                                        services,
                                                                                                                             disputed           Total claim, if            Deduction for
                                                                                                    and government
                                                                                                                                               partially secured                                   Unsecured claim
                                                                                                       contracts)                                                        value of collateral
                                                                                                                                                                              or setoff


 41                 Name and Address on File              Information on File                          Customer            Unliquidated                                                                 $243,298




 42                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $242,431




 43                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $227,716




 44                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $224,468




 45                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $205,992




 46                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $180,843




 47                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $166,833




                    Allsec Technologies Limited           Email: nandesh@allsectech.com
 48                6303 Commerce Dr. Suite 175                                                        Trade Debt                                                                                        $163,350
                          Irving, TX 75063                Phone: +1 (214) 931-9189




 49                  Name and Address on File             Information on File                          Customer            Unliquidated             $175,612                  $15,243                   $160,369




 50                  Name and Address on File             Information on File                          Customer            Unliquidated                                                                 $158,963




Official Form                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest                                                                          page 4
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              ACTION BY UNANIMOUS WRITTEN CONSENT OF THE
           SPECIAL COMMITTEE OF PRIME CORE TECHNOLOGIES INC.,
          PRIME TRUST, LLC, PRIME DIGITAL, LLC, AND PRIME IRA LLC

                                         August 14, 2023

        The undersigned, being all the members of the special restructuring committee (the
“Special Committee”) of Prime Core Technologies Inc., a Delaware corporation, Prime Trust,
LLC, a Nevada limited liability company, Prime Digital, LLC, a Nevada limited liability
company, and Prime IRA LLC, a Nevada limited liability company (collectively, the
“Companies” or the “Filing Entities”), pursuant to the authority granted to it by the Eighth
Judicial District Court of the State of Nevada (the “Nevada Court”), and the board of directors,
board of managers, or sole members, as applicable (each, a “Board,” and together, the “Boards”)
of the Companies, hereby adopts and approves the following recitals and resolutions by
unanimous written consent, effective as the date written above:
                 WHEREAS, on June 23, 2023, the Board of Prime Core Technologies,
        Inc. and Prime Trust, LLC adopted the resolutions (the “June 23 Resolutions”)
        that, among other things, resolved that “the directors and officers of the Company
        are hereby authorized to execute any and all consent agreements or documents on
        behalf of the Company and are authorized to take any and all additional actions
        as deemed necessary or appropriate by the receiver without further approval of
        the directors or stockholders.”;

                WHEREAS, the June 23 Resolutions further provide that, “the officers
        and directors of the Company by, and each of them is hereby is, authorized and
        directed, for and on behalf of the Company, to make all such arrangements, to do
        and perform all such acts and to execute and deliver all such certificates and such
        other instruments, agreements, and documents, and to pay all such reasonable
        expenses, as they may deem necessary or appropriate in order to fully effectuate
        the purpose of each and all of the foregoing resolutions, and to waive all
        conditions and to do all things necessary and helpful to carry out the purposes of
        the foregoing resolutions, and that any and all prior or future actions taken by
        those officers or directors that are consistent with the purposes and intent of the
        above resolutions are ratified, approved, adopted, and confirmed[]”;

                WHEREAS, pursuant to the June 23 Resolution, the Board consented to
        the imposition of a receivership for the Companies and the appointment of a
        receiver to pursuant to Nevada Revised Statute § 669.2846;

                WHEREAS, on July 14, 2023, the Nevada Court entered an Order to
        Show Cause; Injunction; Order Appointing Receiver Pending Further Order of
        the Court; Order to Preserve Assets of Respondent (the “Interim Receivership
        Order”), pursuant to which the Nevada Court appointed John Guedry as receiver
        (the “Receiver”) of the Filing Entities on an interim basis;
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         WHEREAS, pursuant to the Interim Receivership Order, the “Receiver
is authorized to enter the business and immediately oversee the operation,
conservation, rehabilitation, administration, and/or liquidation of the Business of
[the Filing Entities] . . .” and “the officers, directors, stockholders, members,
subscribers, managers, agents, employees, and all other persons are enjoined
from: . . . (2) transacting any further business on behalf of [the Filing Entities],
except as expressly directed or approved by the Receiver . . . ”;

        WHEREAS, on August 14, 2023, the Nevada Court entered a
subsequent order (the “Final Receivership Order,” and together with the Interim
Receivership Order, the “Receivership Orders”), pursuant to which the Nevada
Court appointed the Receiver on a final basis;

        WHEREAS, pursuant to the Final Receivership Order, the Nevada
Court established a special restructuring committee of the Board (the “Special
Committee”), appointed John Guedry, John Wilcox, and Michael Wyse as the
sole members thereof (the “Special Committee Members”), and vested the
Special Committee with the requisite authority to direct the Companies to file
voluntary petitions for relief pursuant to 11 U.S.C. § 101, et seq. (the
“Bankruptcy Code”) and manage and oversee the Companies during the
pendency of any case(s) filed pursuant to chapter 11 the Bankruptcy Code,
notwithstanding anything to the contrary set forth in any of the Companies’
organizational documents (or otherwise), including any necessary consent rights;

         WHEREAS, on August 10, 2023, the Boards of the Companies adopted
resolutions (the “August 10 Resolutions”) ratifying the establishment the Special
Committee, ratifying the appointment of the Special Committee Members as the
sole members thereof, and ratifying the delegation to the Special Committee the
requisite authority to direct the Companies to file voluntary petitions for relief
pursuant to chapter 11 of the Bankruptcy Code and manage and oversee the
Companies as debtors and debtors-in-possession during the pendency of any such
cases;

        WHEREAS, the Special Committee has been presented with proposed
voluntary petitions (each, a “Petition”) to by filed by the Companies in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), pursuant to which each of the Companies will operate as a debtor-in-
possession; and

         WHEREAS, the Special Committee has had the opportunity to consult
with the directors, officers, and former management of the Companies and the
Companies’ legal, financial, and other advisors regarding the liabilities, financial
and operational condition, including capital resources, and sources and uses of
cash of each of the Filing Entities, the strategic alternatives available to it, and
the effect of the foregoing resolutions on the business of each of the Filing
Entities.

        NOW, THEREFORE, BE IT:

        RESOLVED, that in the business judgment of the Special Committee, it
is desirable and in the best interests of each Filing Entity (including a


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consideration of its creditors and other parties in interest) that each Filing Entity
shall be, and hereby is, in all respects, authorized to file, or cause to be filed, a
voluntary petition for relief commencing a case under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court (the “Chapter 11 Cases”).

        RESOLVED, that the Special Committee Members (the “Authorized
Signatories”), acting alone or with one or more other Authorized Signatories be,
and hereby are, authorized, empowered, and directed to execute and file on
behalf of each Filing Entity all petitions, schedules, lists, and other motions,
papers, or documents, and to take any and all actions that they deem necessary or
proper to obtain such relief, including, without limitation, any actions necessary
to maintain the ordinary course operation of each Filing Entity’s business.

        RESOLVED, that each of the Authorized Signatories be, and they
hereby are, authorized and directed to employ the law firm of McDermott Will &
Emery LLP (“McDermott”), as bankruptcy counsel, to represent and assist each
Filing Entity in carrying out its duties under the Bankruptcy Code in connection
with Chapter 11 Cases, and to take any and all actions to advance each Filing
Entity’s rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of
McDermott.

        RESOLVED, that that each of the Authorized Signatories be, and they
hereby are, authorized and directed to employ the firm of M3 Advisory Partners,
LP (“M3”), as financial advisor, to represent and assist each Filing Entity in
carrying out its duties under the Bankruptcy Code in connection with Chapter 11
Cases, and to take any and all actions to advance each Filing Entity’s rights and
obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of M3.

        RESOLVED, that that each of the Authorized Signatories be, and they
hereby are, authorized and directed to employ the firm of Galaxy Digital Partners
LLC (“Galaxy”), as investment banker, to represent and assist each Filing Entity
in carrying out its duties under the Bankruptcy Code in connection with Chapter
11 Cases, and to take any and all actions to advance each Filing Entity’s rights
and obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Galaxy.

        RESOLVED, that that each of the Authorized Signatories be, and they
hereby are, authorized and directed to employ the firm of Stretto, as notice and
claims agent, to represent and assist each Filing Entity in carrying out its duties
under the Bankruptcy Code in connection with Chapter 11 Cases, and to take any


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and all actions to advance each Filing Entity’s rights and obligations, including
filing any motions, objections, replies, applications, or pleadings; and in
connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Stretto.

        RESOLVED, that each of the Authorized Signatories be, and they
hereby are, authorized and directed to employ any other professionals to assist
each Filing Entity in carrying out its duties under the Bankruptcy Code; and in
connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an
appropriate application for authority to retain the services of any other
professionals as necessary.

        RESOLVED, that each of the Authorized Signatories be, and they
hereby are, with power of delegation, authorized, empowered, and directed to
execute, or cause to be executed, and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by the legal counsel, accountants, financial advisors, and
other professionals and to take and perform any and all further acts and deeds
that each of the Authorized Signatories deem necessary, proper, or desirable in
connection with each Filing Entity’s Chapter 11 Case, with a view to the
successful prosecution of each Filing Entity’s Chapter 11 Case.

         RESOLVED, that all actions of the Authorized Signatories and the
Companies and their respective directors, managers, members, shareholders,
officers, employees and agents taken in furtherance of or in connection with the
matters approved by the foregoing resolutions are hereby authorized, ratified, and
approved in all respects.

         RESOLVED, that this Action by Unanimous Written Consent of the
Special Committee may be executed in counterparts, each of which shall be
deemed an original, but all of which together shall constitute one and the same
original.

        RESOLVED, that the Authorized Signatories of the Special Committee
may execute and deliver their executed counterpart of this Action by Unanimous
Written Consent of the Special Committee to the Secretary of the Companies by
facsimile signature, electronic mail (including PDF or any electronic signature
complying with the U.S. federal ESIGN Act of 2000, e.g., www.docusign.com)
or other transmission method, and no confirmation of such delivery by the
mailing or personal delivery of an executed original of this Action by Unanimous
Written Consent of the Special Committee to the Secretary of the Companies
shall be required in order for this Action by Unanimous Written Consent of the
Special Committee to be effective.

                         [SIGNATURE PAGE FOLLOWS]




                                     4
DocuSign Envelope ID: 65767B36-747D-4623-AE0B-BE3C7D0B5FD9
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                     IN WITNESS WHEREOF, the undersigned have executed this Action by Unanimous Written

            Consent as of the date set forth above.


                                                                   SPECIAL COMMITTEE MEMBERS:


                                                                   ______________________________
                                                                   John Guedry


                                                                   ______________________________
                                                                   John Wilcox


                                                                   ______________________________
                                                                   Michael Wyse
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        IN WITNESS WHEREOF, the undersigned have executed this Action by Unanimous Written

Consent as of the date set forth above.


                                                     SPECIAL COMMITTEE MEMBERS:


                                                     ______________________________
                                                     John Guedry


                                                     ______________________________
                                                     John Wilcox


                                                     ______________________________
                                                     Michael Wyse
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 Fill in this information to identify the case and this filing:


              Prime Core Technologies Inc.
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the  Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a
                               Consolidated Corporate Ownership Statement, List of Equity Security Holders
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/14/2023
        Executed on ______________                         8    /s/ Jor Law
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Jor Law
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Interim Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
